                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                              AT LAW AND IN ADMIRALTY


 UNITED STATES OF AMERICA,

                       Plaintiff,

                v.                                       Case No.

 ELEVEN ASSORTED JEWELRY ITEMS,

                       Defendant.


              VERIFIED COMPLAINT FOR CIVIL FORFEITURE IN REM


       The United States of America, by its attorneys, Richard G. Frohling, United States

Attorney for the Eastern District of Wisconsin, and Bridget J. Schoenborn, Assistant United

States Attorney for this district, alleges the following in accordance with Supplemental

Rule G(2) of the Federal Rules of Civil Procedure:

                                      Nature of the Action

       1.      This is a civil action to forfeit property to the United States of America, under

21 U.S.C. § 881(a)(6), for violations of 21 U.S.C. § 841(a)(1).

                                     The Defendant In Rem

       2.      The defendant property, eleven assorted jewelry items, more specifically

identified in A through K below, was seized on or about October 13, 2020, from Willie Etherly

at 1XXX N. Old World Third Street, Apt. XXXX, Milwaukee, Wisconsin.

               A.     One 10K yellow gold Cuban link necklace with diamonds;

               B.     One 14K yellow gold “W” pendant with diamonds;

               C.     One 14K yellow gold multi-diamond ring;

               D.     One men’s 18K yellow gold Rolex oyster perpetual day-date 40 watch;

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               E.      One 14K white yellow and rose gold Cuban link-style bracelet with
                       diamonds and “1217” design in clasp;

               F.      One 14K yellow gold diamond necklace;

               G.      One 14K yellow and white gold “1217” pendant with diamonds;

               H.      One ladies’ 14K yellow gold diamond necklace;

               I.      One 14K yellow and white gold “1217” diamond pendant;

               J.      One ladies’ 14K white gold multi-baguette and round brilliant cut
                       diamond necklace; and

               K.      One 18K yellow gold Submariner 16618 Rolex watch with blue dial.

       3.      The defendant property is presently in the custody of the United States Marshal

Service in Milwaukee, Wisconsin.

                                      Jurisdiction and Venue

       4.      This Court has subject matter jurisdiction over an action commenced by the

United States under 28 U.S.C. § 1345, and over an action for forfeiture under 28 U.S.C.

§ 1355(a).

       5.      This Court has in rem jurisdiction over the defendant property under 28 U.S.C.

§ 1355(b).

       6.      Venue is proper in this district under 28 U.S.C. § 1355(b)(1), because the acts or

omissions giving rise to the forfeiture occurred in this district.

                                        Basis for Forfeiture

       7.      The defendant property, eleven assorted jewelry items, is subject to forfeiture to

the United States of America under 21 U.S.C. § 881(a)(6) because it represents proceeds of

trafficking in controlled substances or was purchased with proceeds traceable to an exchange of

money for controlled substances in violation of 21 U.S.C. § 841(a)(1).



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                                                Facts

       8.      Marijuana is a Schedule I controlled substance under 21 U.S.C. § 812.

       9.      Tetrahydrocannabinol (“THC”) is a Schedule I controlled substance under

21 U.S.C. § 812.

       10.     On or about February 18, 2011, Willie Etherly pled guilty to a felony count in

Milwaukee County Circuit Court Case No. 10CF5876.

       11.     Since on or about February 18, 2011, Willie Etherly has been, and remains, a

convicted felon.

       12.     As a convicted felon, Willie Etherly is prohibited from possessing a firearm.

Investigation into Willie Etherly’s drug trafficking activities

       13.     Beginning on approximately December 3, 2018, Willie Etherly was on active

probation from Milwaukee County Circuit Court, Case No. 16CF1346, after being found guilty

on February 7, 2017, at a jury trial of possession of narcotics with intent to deliver. In that case,

Etherly was sentenced to three years in jail and two years on probation.

       14.     Willie Etherly listed his address with his probation officer as 4XXX N. 58th

Street, Milwaukee Wisconsin.

       15.     Based upon the investigation, Willie Etherly had the following two additional

addresses:

               A.      1XXX N. Old World Third Street, Apt. XXXX, Milwaukee, Wisconsin, a
                       known residence of Willie Etherly and the residence from which the
                       defendant property was seized.

               B.      7XXX W. Beechwood Avenue, Milwaukee, Wisconsin (“Beechwood
                       residence”).

                          i.   Based upon the investigation, the Beechwood residence was
                               believed to be a “stash” house for Willie Etherly and other drug
                               traffickers to store narcotics and other illegal contraband.


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                        ii.   The Beechwood residence had six cameras on the outside, and the
                              front and side doors had security gates and Ring doorbells with
                              cameras.

                       iii.   Officers conducted surveillance at the Beechwood residence and
                              saw Willie Etherly enter and exit the Beechwood residence on
                              numerous occasions.

                        iv.   On April 23, 2020, officers searched the contents of the garbage
                              left for pickup at the Beechwood residence and found documents
                              in the name of Willie Etherly, four empty vacuum seal bags, four
                              large bags marked with “medical marijuana” which contained
                              marijuana residue, eight containers for THC products, and vinyl
                              gloves.

                        v.    On June 26, 2020, officers searched the contents of the garbage left
                              for pickup at the Beechwood residence and found documents in the
                              name of Willie Etherly, including an American Airlines luggage
                              tag from a flight on May 10, 2020, from Chicago to Los Angeles; a
                              large empty bag marked with a Medical Cannabis sticker; an
                              empty vacuum seal bag with a hole in it; an empty container for
                              LOL Edibles Medical Cannabis candy; plastic gloves with foil and
                              duct tape on them; and Waukesha State Bank $1,000 money bands
                              dated June 10, 2020.

                        vi.   On October 12, 2020, during surveillance at the Beechwood
                              residence, officers saw Willie Etherly exit the residence, open the
                              trunk of a vehicle, remove a suitcase from the trunk, and then re-
                              enter the Beechwood residence with that suitcase. After a brief
                              time, Etherly exited the residence with the same suitcase and
                              placed that suitcase back into the trunk of the vehicle.

October 13, 2020 execution of search warrant at Willie Etherly’s residence, 1XXX N. Old
World Third Street, Apt. XXXX, Milwaukee, Wisconsin

       16.     On October 13, 2020, officers arrived at the residence of Willie Etherly, 1XXX N.

Old World Third Street, Apt. XXXX, Milwaukee, Wisconsin (the “subject residence”), due to an

outstanding warrant on Etherly for violation of his probation.

       17.     Willie Etherly was present at the subject residence and taken into custody.

       18.     Following a Wisconsin Act 79 search of the subject residence, officers obtained

and executed a search warrant at the subject residence.


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        19.     On October 13, 2020, the following items, among other things, were inside the

subject residence:

                A.      In the kitchen were the following:

                             i. Identifying documents in the name of Willie Etherly.

                            ii. A semi-automatic Beretta firearm with a loaded magazine and a
                                cartridge in the chamber.

                           iii. A Glock firearm magazine loaded with nine cartridges.
                           iv. Two boxes of ammunition.

                            v. A jewelry box containing seven jewelry items, which are a portion
                               of the defendant eleven assorted jewelry items.

                           vi. A bag containing marijuana.

                           vii. Loose marijuana on a tray.

                          viii. A bottle containing THC infused “legal lean syrup.”

                           ix. Five containers of THC wax.

                            x. Five different products of THC infused edibles.

                           xi. A suitcase containing a large amount of currency. 1

                           xii. A shoebox containing a large amount of currency.

                          xiii. A money counter.

                B.      In the living room were the following:

                             i. A Springfield Armory Hellcat semi-automatic pistol with a loaded
                                magazine and a cartridge in the chamber.

                            ii. A bag containing designer THC.

                           iii. Four jewelry items on the sofa, which are a portion of the
                                defendant eleven assorted jewelry items.



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  This suitcase was similar to the suitcase that surveilling officers saw Willie Etherly remove from the
trunk of a vehicle, take into the Beechwood residence, and then place back into the trunk on October 12,
2020.
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               C.     In the hall/utility closet were two duffel bags containing a total of
                      approximately 49,732 grams of THC-infused edibles.

               D.     In the bedroom were the following:

                          i. A wallet containing identifiers for Willie Etherly.

                          ii. Two bags containing designer THC.

                         iii. A bottle containing THC infused “legal lean syrup.”

                         iv. One roll of medical cannabis labels.

                          v. One box of ammunition.

                         vi. Federal Express shipping labels for Will Etherly.

                        vii. A suitcase containing a large amount of currency.

       20.     The total THC and marijuana weights inside the subject residence were

approximately 183 grams of high-grade marijuana, approximately 155 grams of THC liquid

syrup, approximately 96 grams of marijuana wax, approximately 570 grams of THC liquid

infused edibles, and approximately 49,732 grams of THC infused edibles.

       21.     The total currency inside the suitcases in the subject residence was approximately

$466,935.00 in United States currency. 2

                             Willie Etherly’s State Drug Charges

       22.     On October 20, 2020, Willie Etherly was charged in Milwaukee County Circuit

Court, Case No. 20CF3708, with the following:

               A.     Two counts of possession of THC with intent to deliver,

               B.     Two counts of felon in possession of a firearm, and

               C.     Two counts of maintaining a drug trafficking place.




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 On or about December 8, 2020, the Drug Enforcement Administration commenced administrative
forfeiture proceedings against the approximately $466,935.00 in United States currency.
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       23.     On June 21, 2021, Willie Etherly pled guilty in Milwaukee County Circuit Court,

Case No. 20CF3708, to the following:

               A.     Two counts of possession of THC with intent to deliver,

               B.     One count of felon in possession of a firearm, and

               C.     One count of maintaining a drug trafficking place.

       24.     On October 6, 2021, Willie Etherly was sentenced in Milwaukee County Circuit

Court, Case No. 20CF3708, to five years in prison and three years of extended supervision.

                            Administrative Forfeiture Proceedings

       25.     The Drug Enforcement Administration (“DEA”) began administrative forfeiture

proceedings against the eleven assorted jewelry items on the ground that the seized jewelry items

were purchased with proceeds traceable to an exchange of money for controlled substances.

       26.     On or about April 21, 2022, Willie Etherly filed a claim with the DEA in the

administrative forfeiture proceedings to the defendant eleven assorted jewelry items.

                                  Warrant for Arrest In Rem

       27.     Upon the filing of this complaint, the plaintiff requests that the Court issue an

arrest warrant in rem pursuant to Supplemental Rule G(3)(b), which the plaintiff will execute

upon the defendant property pursuant to 28 U.S.C. § 1355(d) and Supplemental Rule G(3)(c).

                                        Claims for Relief

       28.     The plaintiff alleges and incorporates by reference the paragraphs above.

       29.     By the foregoing and other acts, the defendant property, eleven assorted jewelry

items, represents proceeds of trafficking in controlled substances or was purchased with proceeds

traceable to an exchange of money for controlled substances in violation of 21 U.S.C.

§ 841(a)(1).



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       30.     The defendant eleven assorted jewelry items is therefore subject to forfeiture to

the United States of America under 21 U.S.C. § 881(a)(6).

       WHEREFORE, the United States of America prays that a warrant of arrest for the

defendant property be issued; that due notice be given to all interested parties to appear and show

cause why the forfeiture should not be decreed; that judgment declare the defendant property to

be condemned and forfeited to the United States of America for disposition according to law;

and that the United States of America be granted such other and further relief as this Court may

deem just and equitable, together with the costs and disbursements of this action.

       Dated at Milwaukee, Wisconsin, this 28th day of June, 2022.

                                                     Respectfully submitted,

                                                     RICHARD G. FROHLING
                                                     United States Attorney

                                             By:     s/BRIDGET J. SCHOENBORN
                                                     BRIDGET J. SCHOENBORN
                                                     Assistant United States Attorney
                                                     Wisconsin Bar Number: 105396
                                                     Attorney for Plaintiff
                                                     Office of the United States Attorney
                                                     Eastern District of Wisconsin
                                                     517 East Wisconsin Avenue, Room 530
                                                     Milwaukee, WI 53202
                                                     Telephone: (414) 297-1700
                                                     Fax: (414) 297-1738
                                                     E-Mail: bridget.schoenborn@usdoj.gov




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                                          Verification

       I, Christopher Navarrette, hereby verify and declare under penalty of perjury that I am a

Task Force Officer with the Drug Enforcement Administration (DEA), that I have read the

foregoing Verified Complaint for Civil Forfeiture in rem and know the contents thereof, and that

the factual matters contained in paragraphs 8 through 21 of the Verified Complaint are true to my

own knowledge.

       The sources of my knowledge and information are the official files and records of the

United States, information supplied to me by other law enforcement officers, as well as my

investigation of this case, together with others, as a Task Force Officer with the DEA.

       I hereby verify and declare under penalty of perjury that the foregoing is true and correct.



Date: 6-27-22                                s/Christopher Navarrette
                                             Christopher Navarrette
                                             Task Force Officer
                                             Drug Enforcement Administration




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